Case 22-13287-amc        Doc 66    Filed 05/31/23 Entered 05/31/23 15:16:34              Desc Main
                                   Document     Page 1 of 5



                      UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


___________________________________________
In re:                                    :
      R7 Lease Purchase Inc.              :                Bankr. Case #22-13287 (AMC)
                                          :
        Debtor.                           :                Chapter 11
                                          :
__________________________________________:


                     MOTION OF THE UNITED STATES TRUSTEE
                    TO DISMISS OR CONVERT CASE TO CHAPTER 7


        Andrew R. Vara, United States trustee for Regions 3 & 9, (“UST”), by and through

undersigned counsel, hereby moves to dismiss this case or convert this case to proceedings under

chapter 7 of the Bankruptcy Code and in support thereof states as follows:

PRELIMINARY

       a.      History

       1.      Debtor filed a voluntary Chapter 11 bankruptcy Petition on December 7, 2022.

       2.      Debtor continues to operate as a debtor-in-possession.

       3.      No unsecured creditors committee or trustee has been appointed.

       4.      Debtor filed a proposed Plan of Reorganization on March 7, 2023, wherein

Debtor proposes to fund the Plan from future projected disposable income. No date for hearing

on confirmation of the Plan has been set.

       5.      Debtor has filed Monthly Operating Reports for December 2022 through May

2023, all of which show that Debtor has continually operated at a loss, i.e., the Debtor is

administratively insolvent, and which demonstrate that Debtor does not have the disposable
Case 22-13287-amc        Doc 66    Filed 05/31/23 Entered 05/31/23 15:16:34               Desc Main
                                   Document     Page 2 of 5



income projected to fund its proposed Plan.

       B.      Jurisdiction

       6.      The Bankruptcy Court has jurisdiction over this bankruptcy case pursuant to 28

U.S.C.§§1334 and 157(b).

       7.      The UST brings this Motion pursuant to the statutory duty to monitor bankruptcy

cases under 28 U.S.C.§586(a)(3).

       8.      The UST has standing to prosecute the Motion pursuant to 11 U.S.C. §§307 and

1112 and FRBP 1017 and 9014.


                  MEMORNDUM OF POINTS AND AUTHORITIES

       Cause Exists Under 11 U.S.C.§§1112(b)(1) to Convert or Dismiss this
       Bankruptcy Case.

       9.      11 U.S.C. §1112(b)(1) provides that:
               Except as provided in paragraph (2) and subsection (c), on request
               …the Court shall convert a case under this Chapter to a case under
               Chapter 7 or dismiss a case under this Chapter, whichever is in the
               best interest of creditors and the estate, for cause unless the Court
               determines that the appointment under Section 1104(a) of a trustee
               or an examiner is in the best interests of creditors and the estate.

       10.     Section 1112(b) includes a non-exclusive list of what constitutes “cause;”

however, the Court should “consider other factors as they arise and use its equitable power to

reach the appropriate result.” Pioneer Liquidating Corp v. United States trustee (In re

Consolidated Pioneer Mortgage Entities), 248 B.R. 368, 375, (B.A. 9th Cir. 2000) aff’d, 264

F.3d 803 (9th Cir. 2001). The bankruptcy court has broad discretion to determine what

constitutes “cause” adequate for dismissal or conversion under §1112(b). Id.

       11.     As movant, the UST bears the burden of establishing by preponderance of the

evidence that cause exists. Sullivan v. Harnisch (In re Sullivan), 522 B.R. 604, 614 (B.A.P. 9th
Case 22-13287-amc         Doc 66    Filed 05/31/23 Entered 05/31/23 15:16:34               Desc Main
                                    Document     Page 3 of 5



Cir. 2014)(citation omitted). Where reorganization or rehabilitation is unrealistic or futile, a

Chapter 11 case may be dismissed or converted even at its outset. Johnston v. Jem Dev. Co. v.

Johnston (In re Johnston), 149 B.R. 158, 162 (B.A.P. 9th Cir. 1992). And, if a bankruptcy court

determines that there is cause to convert or dismiss, it must also: (1) decide whether dismissal,

conversion is in the best interests of creditors and the estate; and (2) identify whether there is

unusual circumstances that establish that dismissal or conversion is not in the best interests of

creditors and the estate. In re Sullivan, 522 B.R. at 612.


       Cause Exists Under Section 11 U.S.C. §1112(b)(4)(A) because Debtor is
       Unable to Reorganize.

       12.      “Cause,” as used in Section 1112(b)(4)(A), is defined in pertinent portions of

Section 1112(b)(4) as . . .

              (A) substantial or continuing loss or diminution of the estate and the absence of
       a reasonable likelihood of rehabilitation.


       13.     Upon information and belief, it is averred that Debtor is not operating profitably

and does not have the ability nor is able to demonstrate the ability to fund a feasible Plan of

Reorganization.

       Once Cause is Established, Debtor has the burden of Establishing All
       Elements of the Statutory Defenses Available Under 11 U.S.C.§1112(b)(2).

       14.     Once “cause” is established, the burden then shifts to the debtor to demonstrate

that §1112(b)(2) precludes relief under §1112(b)(1). See (In Sanders), 2013 Bankr. LEXIS 4681

at *18-19. The only exception to conversion or dismissal would be if the bankruptcy court

specifically identifies “unusual circumstances…that establish that such relief is not in the best

interest of creditors and the estate.” See 11 U.S.C.§1112(b)(1). For the exception to apply: (1)

the debtor must prove and the bankruptcy court must “find and specifically identify” that
Case 22-13287-amc         Doc 66    Filed 05/31/23 Entered 05/31/23 15:16:34                Desc Main
                                    Document     Page 4 of 5



“unusual circumstances” exist to show that conversion or dismissal is not in the best interest of

creditors and the estate; and (2) the debtor must prove that the cause for conversion or dismissal

was reasonably justified, and that the basis for dismissal or conversion can be “cured” within a

reasonable time. See Warren v. Young (In re Warren), 2015 Bankr. LEXIS at *11-12 (B.A.P. 9

Cir. May 28, 2015). As noted, the debtor bears the burden of proving unusual circumstances are

present in the case the render dismissal or conversion is not in the best interest of creditors or the

estate. In re Sanders, 2013 Bankr. LEXIS 4681 at *18-19.

       15.     In addition to establishing unusual circumstances, a debtor or other respondents

seeking to avoid conversion or dismissal must establish the requirements set forth in Sections

1112(b)(2)(A)—(b)(2)(B). Section 1112(b)(2) provides:


                       …and the debtor or any other party in interest establishes that—
                       (A) There is a reasonable likelihood that a plan will be
                       confirmed within the timeframes established in sections
                       1121(e) and 1129 (e) of this title, or if such sections do
                       not apply, within a reasonable period of time; and (B) The
                       grounds for converting or dismissing the case include an
                       act or omission of the debtor other than under paragraph
                       (4)(A)

                               (I) for which there exists a reasonable justification for
                               the act or omission; and

                               (ii) that will be cured within a reasonable period of time
                               fixed by the Court.

11 U.S.C.§1112(b)(2) (emphasis added).


       16.     More importantly, the Debtor must establish each of the statutory elements set

forth under Section 1112(b)(2) because the statute is written in the conjunctive. In re Om Shivai,
Case 22-13287-amc        Doc 66     Filed 05/31/23 Entered 05/31/23 15:16:34           Desc Main
                                    Document     Page 5 of 5



Inc. 447 B.R. 459, 465 (Bankr. D.S.C. 2011); Landmark Atlantic Hess Farm, LLC., 448 B.R.

707, 717 (Bankr. D. Md. 2011). In addition, the Debtors must demonstrate that the relief

requested in the Motion is not predicated upon Section 1112(b)(4)(A).

       17.     The record does not disclose any unusual circumstances that would establish

justification against granting the relief requested in the Motion.

                                     CONCLUSION

       WHEREFORE, the United States trustee moves the Court to enter an order (a) granting

the Motion; (b) converting this case to a proceeding under chapter 7 or dismissing this case; and

(c) granting such other relief as is just under circumstances.

                                              Respectfully submitted,
May 31, 2023
                                              ANDREW R. VARA
                                              UNITED STATES TRUSTEE
                                              For Regions 3 and 9

                                         BY: /s/ George M. Conway_______
                                             George M. Conway,
                                             Trial Attorney
                                             Office of the United States Trustee
                                             Robert N.C. Nix Federal Building
                                             900 Market St., Suite 320
                                             Philadelphia, PA 19107
                                             Tel: 215 597 8418
                                             Email: George.m.conway@usdoj.gov
